                  Case 1:21-cv-03304-SDG                  Document 6-1          Filed 08/13/21       Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Northern District
                                                   __________  District of
                                                                        of Georgia
                                                                           __________

KANOPY HOLDINGS, INC., a Delaware corporation,                     )
and CHRISTOPHERRORK, an individual residing in                     )
            the State of Georgia                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 1:21-cv-03304-SDG
                                                                   )
   WL GROUP LTD, a Hong Kong limited Company,                      )
  and PO CHIU YUEN (aka Larry Yuen) an individual                  )
    residing in the People’s Republic of China, and                )
   WING LUEN KNITTING FACTORY LTD., a limited                      )
 company under the laws    of the People’s Republic of
                      Defendant(s)                                 )
                         China
                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Wing Luen Knitting Factory Ltd, 9/F Ka To Factory Building, 2 Cheung Yue Street,
                                           Cheung Sha Wan, Kowloon, Hong Kong.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Rodriguez LLC
                                           3343 Peachtree Road NE Ste 145-437
                                           Atlanta, Georgia 30326
                                           Attn: Denning Rodriguez, Esq.



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT
                                                                             KEVIN P. WEIMER

Date:              8/13/2021                                                                 s/Jennifer K. Brown
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:21-cv-03304-SDG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
